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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                                    :   MDL NO. 2740
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :   SECTION “N”(5)
                                                               :   JUDGE ENGELHARDT
                                                               :   MAG. JUDGE NORTH
Tracie Coles and Arthur Coles                         ,        :
                                                               :   COMPLANT & JURY DEMAND
         Plaintiff(s),                                         :
                                                               :   Civil Action No.:
                                                                                       2:17-cv-8769
vs.                                                            :
                                                               :
                                                               :
Sanofi S.A., et al.                                   ,        :
                                                               :
         Defendant(s).                                         :
-------------------------------------------------------------- :


                              AMENDED SHORT FORM COMPLAINT

        Plaintiff(s) incorporate by reference the Amended Master Long Form Complaint and Jury

Demand filed in the above-referenced case on March 31, 2017. Pursuant to Pretrial Order No.

15, this Amended Short Form Complaint adopts allegations and encompasses claims as set forth

in the Amended Master Long Form Complaint against Defendant(s).

        Plaintiff(s) further allege as follows:

1.         Plaintiff:
           Tracie Coles
2.         Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss

           of consortium):
           Arthur Coles




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3.     Other type of Plaintiff and capacity (i.e., administrator, executor, guardian,

       conservator):
       N/A
                                     Virginia
4.     Current State of Residence:
                                                       Virginia
5.     State in which Plaintiff(s) allege(s) injury:

6.     Defendants (check all Defendants against whom a Complaint is made):

       a.     Taxotere Brand Name Defendants

               ✔       A.     Sanofi S.A.

               ✔       B.     Aventis Pharma S.A.

               ✔       C.     Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

               ✔       D.     Sanofi-Aventis U.S. LLC

       b.     Other Brand Name Drug Sponsors, Manufacturers, Distributors

                       A.     Sandoz Inc.

                       B.     Accord Healthcare, Inc.

                       C.     McKesson Corporation d/b/a McKesson Packaging

                       D.     Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc.

                       E.     Hospira, Inc.

                       F.     Sun Pharma Global FZE

                       G.     Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical
                              Laboratories Ltd.
                       H.     Pfizer Inc.

                       I.     Actavis LLC f/k/a Actavis Inc.

                       J.     Actavis Pharma, Inc.




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                       K.        Other:




7.     Basis for Jurisdiction:

       ✔        Diversity of Citizenship

                Other (any additional basis for jurisdiction must be pled in sufficient detail as
                required by the applicable Federal Rules of Civil Procedure):




8.     Venue:

       District Court and Division in which remand and trial is proper and where you might
       have otherwise filed this Short Form Complaint absent the direct filing Order entered
       by this Court:
                                           Eastern District of Virginia, Richmond Division




9.     Brand Product(s) used by Plaintiff (check applicable):

       ✔        A.     Taxotere

                B.     Docefrez

                C.     Docetaxel Injection

                D.     Docetaxel Injection Concentrate

                E.     Unknown

                F.     Other:




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10.    First date and last date of use (or approximate date range, if specific dates are
       unknown) for Products identified in question 9:

           07/12/2007 - 10/25/2007




11.    State in which Product(s) identified in question 9 was/were administered:



          Virginia




12.        Nature and extent of alleged injury (including duration, approximate
           date of onset (if known), and description of alleged injury):

           Permanent/persistent hair loss and diffuse thinning of hair.




13.        Counts in Master Complaint brought by Plaintiff(s):

            ✔    Count I – Strict Products Liability - Failure to Warn
            ✔    Count II – Strict Products Liability for Misrepresentation
            ✔    Count III – Negligence
            ✔    Count IV – Negligent Misrepresentation
            ✔    Count V – Fraudulent Misrepresentation
            ✔    Count VI – Fraudulent Concealment
            ✔    Count VII – Fraud and Deceit
            ✔    Count VIII – Breach of Express Warranty (Sanofi Defendants
                 only)

            ✔    Other: Plaintiff(s) may assert the additional theories and/or
                 State Causes of Action against Defendant(s) identified by
                 selecting “Other” and setting forth such claims below. If
                 Plaintiff(s) includes additional theories of recovery, for
                 example, Redhibition under Louisiana law or state consumer
                 protection claims, the specific facts and allegations supporting
                 additional theories must be pleaded by Plaintiff in sufficient
                 detail as required by the applicable Federal Rules of Civil
                 Procedure.




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In addition to the counts listed above, Plaintiff also adopts the allegations and
claims listed in the Master Long Form Complaint and asserts the following:

Count IX. Violations of Applicable Virginia Law Prohibiting Consumer Fraud and
Unfair and Deceptive Trade Practices.

Count X. Loss of Consortium.




14.       Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s),
          Email Address(es) and Mailing Address(es) representing Plaintiff(s):

                                            By:
                                                  *T. Aaron Stringer (UT 12681)
                                                  *Nathan Buttars (UT 13659)
                                                  *(Admitted pro hac vice)
                                                  LOWE LAW GROUP
                                                  6028 S. Ridgeline Drive, Ste 200
                                                  Ogden, Utah 84405
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                                                  Fax: (801) 917-8484
                                                  aaron@lowelawgroup.com
                                                  nate@lowelawgroup.com




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                                      Respectfully submitted,

                                       LOWE LAW GROUP


                                       /s/ T. Aaron Stringer
                                       7 $DURQ6WULQJHU, UT Atty. No. 1
                                       Nathan Buttars, UT Atty. No. 13659
                                       (Admitted pro hac vice)
                                       LOWE LAW GROUP
                                       6028 S. Ridgeline Drive, Suite 200
                                       Ogden, UT 84405
                                       Telephone: 801-917-8500 Facsimile:
                                       801-917-8484
                                       DDURQ@lowelawgroup.com
                                       nate@lowelawgroup.com

                                       Counsel for Plaintiff(s)



                                CERTIFICATE OF SERVICE
                                      09/08/2017
       I hereby certify that on _________________________________, ,HOHFWURQLFDOO\
WUDQVPLWWHGWKHDWWDFKHGGRFXPHQWWRWKH&OHUN V2IILFHXVLQJWKH&0(&)6\VWHPIRUILOLQJ
DQGWUDQVPLWWDORID1RWLFHRI(OHFWURQLF)LOLQJ.


                                      /s/ T. Aaron Stringer
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